             Case 1:20-cv-00036-EGS Document 6 Filed 03/09/20 Page 1 of 32




                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


CENTER FOR BIOLOGICAL DIVERSITY,
et al.,

                 Plaintiffs,                          Civil Action No: 1:20-cv-00036-EGS

        v.

DAVID BERNHARDT, in his official capacity
as Secretary of the United States Department of the
Interior, et al.,

                 Defendants.



                                    AFFIDAVIT OF SERVICE

        I respectfully certify that service for the above-captioned case took place as described

below, which included true and correct copies of each of the following documents:

                 ECF 1            Complaint
                 ECF 1-1          Civil Cover Sheet
                 ECF 2            Corporate Disclosure Statement
                 ECF 3            Issued Summons
                 ECF 3-1          Notice of Right to Consent to a Magistrate Judge
                 ECF 5            Standing Order Governing Civil Cases Before Judge Sullivan
                 ECF 5-1          Attachment to Judge Sullivan’s Standing Order

        I sent the complaint, summonses, and other initiating documents (ECF Nos. 1 to 3-1) by

certified mail on January 13, 2020, and the Standing Order and Attachment (ECF Nos. 5 and 5-

1) by certified mail, return receipt requested, on January 21, 2020, to the following parties:

        David Bernhardt, Secretary                     Margaret Everson, Principal Deputy Dir.
        U.S. Department of Interior                    U.S. Fish and Wildlife Service
        1849 C Street, NW                              1849 C Street NW
        Washington, DC 20240                           Washington, DC 20240
         Case 1:20-cv-00036-EGS Document 6 Filed 03/09/20 Page 2 of 32




       U.S. Fish and Wildlife Service                National Marine Fisheries Service
       1849 C Street NW                              1315 East-West Highway
       Washington, DC 20240                          Silver Spring, MD 20910

       Wilbur Ross, Secretary                        Civil Process Clerk
       U.S. Department of Commerce                   U.S. Attorney’s Office
       1401 Constitution Ave., NW                    555 4th Street NW
       Washington, DC 20230                          Washington, DC 20530

       Chris Oliver, Assistant Administrator         Attorney General
       Nat’l Oceanic Atmospheric Admin.              U.S. Department of Justice
       1315 East-West Highway                        950 Pennsylvania Ave., NW
       Silver Spring, MD 20910                       Washington, DC 20530-0001

       Secretary Bernhardt, Principal Deputy Director Everson, the U.S. Fish and Wildlife

Service, Secretary Ross, the National Marine Fisheries Service, the U.S. Attorney’s Office, and

the Attorney General received the complaint, summons, and other initiating documents (ECF

Nos. 1 to 3-1) on January 21, 2020. Receipts and delivery confirmation for the initiating

documents are attached as Exhibit A.

       Secretary Bernhardt, Principal Deputy Director Everson, the U.S. Fish and Wildlife

Service, and Secretary Ross received the Standing Order and Attachment (ECF Nos. 5 and 5-1)

on January 27, 2020. The U.S. Attorney’s Office and the Attorney General received them on

January 28, 2020. Receipts and delivery confirmation for the Standing Order and Attachment

are attached as Exhibit B.

       The certified mail package with the complaint, summons, and other initiating documents

was never delivered to Assistant Administrator Oliver at his office in Silver Spring, Maryland,

and the U.S. Postal Service has been unable to locate the package. Exhibit C. Similarly, the

packages with the Standing Order and Attachment were never delivered to either Assistant

Administrator Oliver or the National Marine Fisheries Service at their office in Silver Spring,

Maryland, and the U.S. Postal Service has been unable to locate the packages. Exhibit C.




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         Case 1:20-cv-00036-EGS Document 6 Filed 03/09/20 Page 3 of 32




       Therefore, I retained a private process server to effectuate service of (1) the initiating

documents and Standing Order with Attachment on Assistant Administrator Oliver, and (2) the

Standing Order and its Attachment on the National Marine Fisheries Service, which were both

accomplished on February 28, 2020. Affidavits from Henry J. Valladares Cruz of Capitol

Process Services that detail and confirm this service are attached as Exhibit D.


DATED: March 9, 2020                          /s/ Cynthia Elkins
                                              Cynthia Elkins, Paralegal
                                              Center for Biological Diversity
                                              P.O. Box 220
                                              Whitethorn, CA 95589




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January 29, 2020

Dear Cynthia Elkins:

The following is in response to your request for proof of delivery on your item with the tracking number:
7018 1830 0001 0203 7155.

Item Details

Status:                                                 Delivered, To Agent
Status Date / Time:                                     January 27, 2020, 12:01 pm
Location:                                               WASHINGTON, DC 20240
Postal Product:                                         First-Class Mail®
Extra Services:                                         Certified Mail™
                                                        Return Receipt Electronic
Shipment Details

Weight:                                                 4.0oz
Recipient Signature


                  Signature of Recipient:


                    Address of Recipient:

Note: Scanned image may reflect a different destination address due to Intended Recipient's delivery instructions on file.


Thank you for selecting the United States Postal Service® for your mailing needs. If you require additional
assistance, please contact your local Post Office™ or a Postal representative at 1-800-222-1811.

Sincerely,
United States Postal Service®
475 L'Enfant Plaza SW
Washington, D.C. 20260-0004
                Case 1:20-cv-00036-EGS Document 6 Filed 03/09/20 Page 18 of 32


January 29, 2020

Dear Cynthia Elkins:

The following is in response to your request for proof of delivery on your item with the tracking number:
7018 1830 0001 0203 7223.

Item Details

Status:                                                 Delivered, To Agent
Status Date / Time:                                     January 27, 2020, 12:01 pm
Location:                                               WASHINGTON, DC 20240
Postal Product:                                         First-Class Mail®
Extra Services:                                         Certified Mail™
                                                        Return Receipt Electronic
Shipment Details

Weight:                                                 4.0oz
Recipient Signature


                  Signature of Recipient:


                    Address of Recipient:

Note: Scanned image may reflect a different destination address due to Intended Recipient's delivery instructions on file.


Thank you for selecting the United States Postal Service® for your mailing needs. If you require additional
assistance, please contact your local Post Office™ or a Postal representative at 1-800-222-1811.

Sincerely,
United States Postal Service®
475 L'Enfant Plaza SW
Washington, D.C. 20260-0004
                Case 1:20-cv-00036-EGS Document 6 Filed 03/09/20 Page 19 of 32


January 29, 2020

Dear Cynthia Elkins:

The following is in response to your request for proof of delivery on your item with the tracking number:
7018 1830 0001 0203 7216.

Item Details

Status:                                                 Delivered, To Agent
Status Date / Time:                                     January 27, 2020, 12:01 pm
Location:                                               WASHINGTON, DC 20240
Postal Product:                                         First-Class Mail®
Extra Services:                                         Certified Mail™
                                                        Return Receipt Electronic
Shipment Details

Weight:                                                 4.0oz
Recipient Signature


                  Signature of Recipient:


                    Address of Recipient:

Note: Scanned image may reflect a different destination address due to Intended Recipient's delivery instructions on file.


Thank you for selecting the United States Postal Service® for your mailing needs. If you require additional
assistance, please contact your local Post Office™ or a Postal representative at 1-800-222-1811.

Sincerely,
United States Postal Service®
475 L'Enfant Plaza SW
Washington, D.C. 20260-0004
                Case 1:20-cv-00036-EGS Document 6 Filed 03/09/20 Page 20 of 32


January 29, 2020

Dear Cynthia Elkins:

The following is in response to your request for proof of delivery on your item with the tracking number:
7018 1830 0001 0203 7162.

Item Details

Status:                                                 Delivered, Left with Individual
Status Date / Time:                                     January 27, 2020, 11:53 am
Location:                                               WASHINGTON, DC 20230
Postal Product:                                         First-Class Mail®
Extra Services:                                         Certified Mail™
                                                        Return Receipt Electronic
Shipment Details

Weight:                                                 4.0oz
Recipient Signature


                  Signature of Recipient:


                    Address of Recipient:

Note: Scanned image may reflect a different destination address due to Intended Recipient's delivery instructions on file.


Thank you for selecting the United States Postal Service® for your mailing needs. If you require additional
assistance, please contact your local Post Office™ or a Postal representative at 1-800-222-1811.

Sincerely,
United States Postal Service®
475 L'Enfant Plaza SW
Washington, D.C. 20260-0004
                Case 1:20-cv-00036-EGS Document 6 Filed 03/09/20 Page 21 of 32


January 29, 2020

Dear Cynthia Elkins:

The following is in response to your request for proof of delivery on your item with the tracking number:
7018 1830 0001 0203 7186.

Item Details

Status:                                                 Delivered
Status Date / Time:                                     January 28, 2020, 5:46 am
Location:                                               WASHINGTON, DC 20530
Postal Product:                                         First-Class Mail®
Extra Services:                                         Certified Mail™
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Shipment Details

Weight:                                                 4.0oz
Recipient Signature


                  Signature of Recipient:


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Note: Scanned image may reflect a different destination address due to Intended Recipient's delivery instructions on file.


Thank you for selecting the United States Postal Service® for your mailing needs. If you require additional
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Sincerely,
United States Postal Service®
475 L'Enfant Plaza SW
Washington, D.C. 20260-0004
                Case 1:20-cv-00036-EGS Document 6 Filed 03/09/20 Page 22 of 32


January 29, 2020

Dear Cynthia Elkins:

The following is in response to your request for proof of delivery on your item with the tracking number:
7018 1830 0001 0203 7209.

Item Details

Status:                                                 Delivered
Status Date / Time:                                     January 28, 2020, 5:46 am
Location:                                               WASHINGTON, DC 20530
Postal Product:                                         First-Class Mail®
Extra Services:                                         Certified Mail™
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Shipment Details

Weight:                                                 3.0oz
Recipient Signature


                  Signature of Recipient:


                    Address of Recipient:

Note: Scanned image may reflect a different destination address due to Intended Recipient's delivery instructions on file.


Thank you for selecting the United States Postal Service® for your mailing needs. If you require additional
assistance, please contact your local Post Office™ or a Postal representative at 1-800-222-1811.

Sincerely,
United States Postal Service®
475 L'Enfant Plaza SW
Washington, D.C. 20260-0004
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  .    5JQ\`"` ,.DD.3.Q5R`PY]` .` 'P=Z.S5` (PL25RR`*5QZ5P` 05>J;` 3XC\`R[LPJ` 35NLR5`.J3`R/\`


  +<.T` . <.Z5`155J`4WC\`.XT<LQ>^53`SL`E.B5`R5PZ>25` L6`S<5` *T.J3=J;` &P35P` LZ5PJ=J;`=Z>D`.R5R` 58MQ5`"X3;5` FF5S` ` *YCC=Z.J`
` =J`S<5`.0LZ5`5IT=SD53`2.R5`


  +<.S` . .E`LZ5Q`S<5` .;5`L7`5>;<S55J`\5.QR`.J3`JLS`.` NG?\` TL` LQ`LS<5P[=R5`=JT5P5RT53`=J`U<=R`.2S=LJ`


  +<.T` LJ`              ` .T` . ` '#` . R5QZ53`%.S=LJ.C` #.P=J5` =R<5Q=5R`*5PZ=25`.S`   . .RS-5RT`   =;<[.\` *>CZ5P`*NP>J;` #.P\D.J3`
         `. [>T<` S<5`*S.J3=J;`&Q35P` LZ5PJ=J;` =Z>C` .R5R` 59P5` "X3;5` EE5S` ` *XCC=Z.J` 1\` R5PZ=J;`#5Q>5`.J.R.`3E=J>RTP.T=Z5`
  RR=RS.JS` .WV<LP=_53`SL`.225NT` R5PZ=25`


  $5Q=5`.J.R.` @R`35R2Q=153`<5P5=J`.R`


  5J35Q` 5H.D5`        ).25 *B=J`R=.J`    ;5`  ` -5=;<T`  .     !5=;<S` .     .=Q` C.2B`   C.RR5R` %L`




  . 352D.Q5`XJ35Q`O5K.DS\`L7`N5PAXP\`T<.T` S<>R`=J:PE.S>LJ`>R` TPX5`.J3`2LPP52S`




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